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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA
                                                                      19-cr-877
               v.
                                                                      ORDER
JOBADIAH SINCLAIR WEEKS
                  Defendant.




         THIS MATTER, being before the Court upon the motion of Defendant Jobadiah Sinclair

Weeks, seeking authorization to leave his approved residence to travel to a local Passport Agency

for the purpose of renewing his minor daughter’s passport where the presence of both parents is

legally required, and with the consent of the Government and Pretrial Services, and for good cause

shown;

         On this ___ day of December 2024, the Defendant’s motion is hereby GRANTED. The

Defendant shall notify Pretrial Services at least 24 hours in advance of any travel to the local

Passport Agency and the Defendant shall be accompanied by his third party custodian, Silence

Weeks, at all times that he is traveling to and from the local Passport Agency.

                                                      __________________________
                                                      HON. MICHAEL A. HAMMER
                                                      United States Magistrate Judge




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